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                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION

ROSA HERNANDEZ,                                 §
                                                §
   Plaintiff,                                   §
                                                §
   v.                                           § Case No. SA:10-CV-01051-OLG
                                                §
MICHAEL J. SCOTT, P.C.,                         §
                                                §
   Defendant.                                   §
                                                §


                             CERTIFICATE OF CONFERENCE

       Defendant=s counsel Robbie Malone sent emails to Plaintiff=s counsel to confer regarding
the motion. Defendant believes Plaintiff=s counsel is opposed to the motion based upon previous
conversations. Plaintiff has not responded to Defendant’s emails. It is submitted to the court for
consideration.

                                                \s\Robbie Malone
